     Case 3:21-cv-08249-DLR Document 1-4 Filed 11/11/21 Page 1 of 3




                       EXHIBIT 3
Declaration of Daniel R. Warner in Support of Application for Entry of Default
                                       Case 3:21-cv-08249-DLR Document 1-4 Filed 11/11/21 Page 2 of 3




                                  1   RM WARNER, PLC
                                      8283 N. Hayden Road, Suite 229
                                  2   Scottsdale, Arizona 85258
                                      Daniel R. Warner, Esq. (AZ Bar # 026503)
                                  3   Email: dan@rmwarnerlaw.com
                                  4   Raeesabbas Mohamed, Esq. (AZ Bar # 027418)
                                      Email: Raees@rmwarnerlaw.com
                                  5   Tel: 480-331-9397
                                  6   Fax: 1-866-961-4984
                                      Attorneys for Plaintiff
                                  7
                                                   IN SUPERIOR COURT OF THE STATE OF ARIZONA
                                  8
                                                          IN AND FOR THE COUNTY OF YAVAPAI
                                  9
                                 10
                                      RHONDIE VOORHEES, an individual,                    NO. P1300CV202100396
                                 11
                                 12                           Plaintiff,                  AFFIDAVIT/DECLARATION
8283 N. Hayden Road, Suite 229




                                                                                          ON DEFAULT AND ENTRY
  Telephone: (480) 331-9397
   Scottsdale, Arizona 85258




                                 13   v.                                                  OF DEFAULT
       RM WARNER, PLC




                                 14
                                      AUDREY DAVIS and JOHN DOE DAVIS,
                                 15   husband and wife,
                                 16                           Defendants.
                                 17
                                 18          I, Daniel R. Warner, under the penalty of perjury, declare as follows:
                                 19
                                             1.     I am the attorney for Plaintiff in this action and make this Declaration to
                                 20
                                 21   show the fact and manner of compliance with the provisions of Rule 55, Ariz.R.Civ.P.

                                 22          2.     The following parties in this action, against whom a judgment for
                                 23
                                      affirmative relief is sought, have failed to plead or otherwise defend against Plaintiff’s
                                 24
                                 25   Complaint within the time periods prescribed by and in compliance with the Arizona

                                 26   Rules of Civil Procedure: Defendant AUDREY DAVIS. A copy of the Affidavit of
                                 27
                                      Service is attached hereto as Exhibit 1.
                                 28


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                                       Case 3:21-cv-08249-DLR Document 1-4 Filed 11/11/21 Page 3 of 3




                                  1
                                             3.     To comply with the requirements of 50 U.S.C.A. § 520, I verify that, to the

                                  2   best of my knowledge, the above-named party is not in the military service, and is not an
                                  3
                                      infant or incompetent.
                                  4
                                             4.     Since the service of a copy of Plaintiff’s Complaint seeking affirmative
                                  5
                                  6   relief herein upon the Defendant(s), the statutory time, exclusive of the day of service,
                                  7
                                      within which the party may plead or otherwise defend, has passed.
                                  8
                                             WHEREFORE, I respectfully request that default be entered against Defendant
                                  9
                                 10   ADUREY DAVIS.
                                 11          RESPECTFULLY submitted this 8th day of July, 2021.
                                 12
8283 N. Hayden Road, Suite 229




                                                                               RM WARNER, PLC
  Telephone: (480) 331-9397
   Scottsdale, Arizona 85258




                                 13
       RM WARNER, PLC




                                 14                                     By:    /s/ Daniel R. Warner
                                                                               Daniel R. Warner, Esq.
                                 15
                                                                               8283 N. Hayden Road, Suite 229
                                 16                                            Scottsdale, Arizona 85258
                                                                               Attorneys for Plaintiff
                                 17
                                 18   COPY of the foregoing filed
                                      this same date with the Clerk of the Court
                                 19
                                 20   COPY of the foregoing
                                      Mailed this same date to:
                                 21
                                 22   Audrey Davis
                                      1103 Overcliff Drive
                                 23   Apex, NC 27502
                                 24   Defendant Pro Per

                                 25   /s/ Anne Griffith
                                 26
                                 27
                                 28


                                                                                   2
